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Retail Lease

Alexa and Roger Inc.
Landlord

and

Growth Mindset Learning LAB, LLC,
Tenant

Premises: 381 Myrtle Avenue, Brooklyn, NY

Date: Sygteo il, er /, Po ae.

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FORM OF RETAIL LEASE (2009, modified 2010):

This form was originally prepared by the Committee on Real Property Law of the Association of the Bar of
the City of New York. This form may have been altered by the user and any such alterations may not be
apparent. To view or download the original unaltered text of this form and a note about this form, visit the
Real Estate Forms site at the Reports/Publications/Farms link at www.nycbar.org. This form will not be
suitable for all transactions. No warranty or representation is made as to the legal sufficiency of the form.

Retail Lease

Lease dated Se b ahi Zeéé between Alexa and Roger Inc, a Domestic
Business Corporation (“Landlord”), and Growth Mindset Learning LAB, LLC,, a Domestic

Limited Liability Corporation (“Tenant”).
Article 1. Basic Terms and Definitions

Section 1.1 Additional Rent. All sums, other than the Fixed Rent, payable by
Tenant to Landlord under this lease, including the payment of deficiencies and increases in the
Security, if any.

Section 1.2 Broker. Keller Williams Realty Landmark If.
Section 1.3 Building. The building and improvements located at 381

Myrtle Avenue, Brooklyn, NY.

Section 1.4 Commencement Date. September 1, 2022, subject to the provisions of
Section 2.6,

Section 1.5 Expiration Date. The date that is fifteen years following the last day
of the calendar month in which the Commencement Date occurs.

Section 1.6 Extension Option. A single five year extension option, more
patticularly described in the Extension Option Rider (if any) attached to this lease.

Section 1.7. Fixed Rent. The Fixed Rent is shown on Exhibit A to this lease.

Section 1.8 Fixed Rent Commencement Date, The date that is 30 days
following the Commencement Date.

Section 1.9 Guarantor, Johnny Edwards. If there is more than one person or entity
comprising Guarantor, the liability of all persons and entities comprising Guarantor shail be joint
and several,

Section 1.10 Landlord’s Work. - The work, if any, described in Exhibit B to
this lease.

Section 1.11 Notice Address.

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(a) Landlord, Alexa and Rogers Inc c/o Law office of Richard Rodriguez,
114 Court Street, 2"! Floor, Brooklyn, NY 11201.

soa (by T Tenants Prior to the Commencement Date ;
bod , New York ____.. After the Commencement Date, the

Pretnises,
Section 1.12 Permitted Use. Child Day Care, and for no other purpose.

Section 1.13 Premises. The portion of the Building consisting of approximately
2,050 square feet of the ground floor and rear portion of the basement, and entire backyard.

Section 1.14 Proportionate Share. Fifty percent (50%).
Section 1.15 Real Property. The Building and the land on which it is located.
Section 1.16 Rent, The Fixed Rent and all Additional Rent.

Section 1.17 Security. $27,000.00, subject to increase as provided in this
Section. The amount of the Security shall be increased each time the monthly payments of Fixed
Rent increase so that Landlord shall at all times have and maintain three (3) full months Fixed
Rent as security, subject to further increase as provided in Article 20.

Section 1.18 Term, The period commencing on the Commencement Date and
ending on the Expiration Date, subject to earlier termination or extension of this lease pursuant to
the terms hereof.

. Section 1.19 Certain Definitions. Any reference in this lease to (a) “legal
action”, includes any suit, proceeding or other legal, arbitration or administrative process, and
any appellate proceedings in connection therewith, (b) “person” includes any individual or entity,
(c) “this lease” includes the Rules and the other Exhibits to this lease, and (d) “including” means
“including without limitation”.

_ Article 2. Demise; Rent

Section 2.1 Landlord hereby leases to Tenant, and Tenant hereby leases from
Landlord, the Premises, for the Term, at the Rent and on the other terms of this lease.

_ Section 2.2 Tenant shall pay Landlord the Rent, without notice, abatement,
deduction or offset (except as expressly provided in this lease), in lawful money of the United
States of America, by Tenant’s check or another method approved by Landlord, at Landlord’s
Notice Address or another address Landlord designates, and as provided in this lease, The Fixed
Rent shall be paid in equal monthly installments, in advance, on the first day of each calendar
month during the Term, except that on the signing and delivery of this lease by Tenant, Tenant
shall pay Landlord one full monthly installment of the Fixed Rent, to be applied to the first full
monthly installment of the Fixed Rent due under this lease. Rent shall be pro-rated for any partial
month according to the number of days in the month occurring during the Term, Landlord’s
delay in rendering, or failure to render, any statement required to be rendered by Landlord for
any Rent for any period shall not waive Landlord’s right to render a statement or to collect that
Rent for that or any subsequent period. The rendering of an incorrect statement shall not waive

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Landlord’s right to render a corrected statement for the period covered by the incorrect statement
and collect the correct amount of the Rent, which Tenant shall pay within thirty (30) days after
its receipt of the corrected statement.

Section 2.3 [fa Fixed Rent Commencement Date is specified in Article 1 of
this lease: (a) Tenant is not required to pay Fixed Rent until the Fixed Rent Commencement
Date provided Tenant does not default in performing its obligations under this lease beyond any
applicable cure period; and (b) if the Fixed Rent Commencement Date is not the first day of a
month, the Fixed Rent for the month in which the Fixed Rent Commencement Date occurs shall
be apportioned according to the number of days in that month and shall be due and payable when
invoiced.

Section 2.4 Unless otherwise specified in this lease, all Additional Rent shall
be paid by Tenant within thirty (30) days after Tenant is billed therefor,

Section 2.5 Except as otherwise specifically provided in this lease, Landlord’s
calculation, determination, or estimate of any Fixed Rent adjustment, any Additional Rent, any
Additional Rent adjustment, or any refund (if this lease provides for one) (a “Determination”)
shall bind Tenant unless: (a) Tenant gives Landlord Notice of Tenant’s objection (with all
reasonable grounds for such objection) within thirty (0) calendar days after receiving
Landiord’s first invoice based on such Determination, and (b) Tenant timely pays the invoiced
amount (without prejudice to Tenant’s right to object as provided in this Section),

Section 2.6 If for any reason Landlord is unable to deliver vacant and broom
clean possession of the entire Premises with Landlord’s Work, if any, substantially complete on
or before September 1, 2022, this lease shall not be void or voidable nor shall Landlord be liable
to Tenant therefor, monetarily or otherwise, but the Commencement Date shall be delayed until
the date on which Landlord delivers vacant possession of the Premises to Tenant with
Landlord’s Work, if any, substantially completed. This Section constitutes an express provision
to the contrary pursuant to Section 223-a of the New York Real Property Law (or any similar
Laws, hereinafter defined), which Landlord and Tenant agree is inapplicable to this lease (and
Tenant hereby waives any right to damages or to rescind this lease which Tenant might
otherwise have thereunder). In the event Landlord is unable to deliver the premises within 60
days of the Commencement date, the Tenant, at its option, can void this lease and receive a full
refund of all monies paid to Landlord, including, but not limited to the security deposit and rents
paid.

Section 2.7. Landlord and Tenant shall execute an agreement setting forth the
Commencement Date, the Fixed Rent Commencement Date and the Expiration Date in the form
attached hereto as Exhibit D. -

Section 2.8 | Notwithstanding anything to the contrary in this lease or in any
exhibit or diagram attached to it, no vault or vault space or other area outside the boundary of the
Real Property is included in the Premises. If Tenant is permitted to use or occupy any such vault,
space or other area, it is under a revocable license, and if such license is revoked or the size of
such vault, space or area is reduced, such revocation or reduction shall not be deemed to be an
actual or constructive eviction, and shall not entitle Tenant to any abatement or reduction of
Rent, or relieve Tenant from any of its obligations under this lease, or impose any liability on
Landiord. Tenant shall pay, as Additional Rent, all fees, taxes and charges imposed by any

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